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                           CERTIFICATE OF SERVICE

      I certify that on this 27th day of March, 2015, I will file the foregoing

document on the CM/ECF system, which will then send an electronic notification to:

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